Case 6:18-cv-01147-ACC-DCI Document 55 Filed 09/18/18 Page 1 of 7 PageID 2112



                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION


HINES INTERESTS LIMITED PARTNERSHIP, a
Texas limited partnership; URBAN OAKS
BUILDERS, LLC, a Delaware limited liability
company; 1662 MULTIFAMILY LLC, a Delaware
limited liability company; HINES 1662
MULTIFAMILY, LLC, a Delaware limited liability
company; HINES INVESTMENT MANAGEMENT
HOLDINGS LIMITED PARTNERSHIP, a Texas
limited partnership; HIMH GP, LLC, a Delaware
limited liability company; HINES REAL ESTATE
HOLDINGS LIMITED PARTNERSHIP, a Texas
limited partnership; JCH INVESTMENTS, Inc., a
Texas corporation;

       Plaintiffs,                                CASE NO. 6:18-cv-1147-ACC-DCI
v.

SOUTHSTAR CAPITAL GROUP I, LLC, a Florida
limited liability company; COTTINGTON ROAD
TIC, LLC, a Delaware limited liability company;
DURBAN ROAD TIC, LLC, a Delaware limited
liability company; COLLIS ROOFING, INC., a
Florida corporation; DA PAU ENTERPRISES, INC.,
a Florida corporation; FLORIDA CONSTRUCTION
SERVICES, INC., a Florida corporation;
STRUCTURAL CONTRACTORS SOUTH, INC., a
Florida corporation; NAVIGATORS SPECIALTY
INSURANCE COMPANY, a New York corporation;
GEMINI INSURANCE COMPANY, a Delaware
corporation; and IRONSHORE SPECIALTY
INSURANCE COMPANY, an Arizona corporation,

      Defendants.
_______________________________________/

     GEMINI’S RESPONSE IN OPPOSITION TO MOTION TO TRANSFER VENUE




                                      Page 1 of
Case 6:18-cv-01147-ACC-DCI Document 55 Filed 09/18/18 Page 2 of 7 PageID 2113



       Defendant GEMINI INSURANCE COMPANY (“Gemini”) files its response in

opposition to the motion to transfer venue to Texas Bankruptcy Court (DE 47) filed by Plaintiff

URBAN OAKS BUILDERS, LLC (“UOB”), and states:1

A.     UOB CHARACTERIZES THIS COVERAGE DISPUTE AS A “CORE”
       PROCEEDING, BUT IT DOES NOT ARISE OUT OF THE BANKRUPTCY
       CODE, IT INVOLVES A CONTRACT ISSUED PRE-PETITION AND THIS
       ACTION COMMENCED PRE-PETITION; THE NON-CORE PROCEEDING
       MUST BE LITIGATED HERE.
       UOB does not want to litigate in this Court any longer. Instead, UOB prefers to litigate

this routine coverage dispute implicating state law in Texas Bankruptcy Court. To support its

motion to transfer venue, UOB casts this action as a “core” bankruptcy proceeding. (DE 47, Pg.

9.) UOB argues that this action is “core” because it is “directly linked to the bankruptcy estate.”

Core proceedings are those which arise under title 11.2 See, e.g., 28 U.S.C. § 157; Wellness

Intern. Network, Ltd. v. Sharif, 135 S. Ct. 1932, 1940 (2015) (“Congress identified as core a

nonexclusive list of 16 types of proceedings, § 157(b)(2), in which it thought bankruptcy courts

could constitutionally enter judgment.”); N. Pipeline Constr. v. Marathon Pipe Line Co. 458 U.S.

50 (1982) (defining core proceeding as “the restructuring of debtor-creditor relations.”). This

coverage dispute does not arise under the Bankruptcy Code. For this reason it is not a core

proceeding.

1
  Gemini previously filed a notice of mootness (DE 51) regarding a response to Ironshore’s
crossclaim based on Urban Oaks motion to transfer venue (DE 47) and the suggestion of
bankruptcy (DE 46), which reference the automatic stay pursuant to 11 U.S.C. § 362.
Subsequently, counsel for Urban Oaks informed Gemini’s counsel that the automatic stay may
not apply here. In an abundance of caution, Gemini files this response to the motion to transfer
venue.
2
  UOB also argues that the coverage dispute is a core proceeding because “almost the entire
value of the bankruptcy estate consists of the insurance policies at issue….” (DE 47, Pg. 9.) In
the Texas bankruptcy action, Case No. 18-34892, UOB alleged in its motion for extension of
time to file schedules of assets and liabilities that it has three construction projects “with contract
values of approximately $67 million, $52 million, and $112 million.” (DE 4, Pg. 3.) Clearly, the
insurance policies at issue here are not the entire value of the bankruptcy estate.
                                              Page 2 of
Case 6:18-cv-01147-ACC-DCI Document 55 Filed 09/18/18 Page 3 of 7 PageID 2114



       Rather, because Gemini’s policy was issued to UOB and Hines Interests Limited

Partnership (“Hines”) pre-petition and UOB sued the insurers over coverage pre-petition (DE 2),

this action is a non-core proceeding. See In re Lawrence Group, Inc., 285 B.R. 784, 787

(N.D.N.Y. 2002) (“The fact that the contract was executed pre-petition and that the dispute could

arise outside of bankruptcy proceedings weights against its core status.”). Moreover, since the

coverage issues (number of occurrences, whether Gemini exhausted the each occurrence $2M

limit, whether Ironshore owes a defense, and whether Navigator’s policy is also implicated) are

unrelated to the bankruptcy proceeding (administration of the estate), this too makes this action a

non-core proceeding. In re Lawrence Group, Inc., 285 B.R. at 788 (“Here, the cause of action

under the Hartford policy accrued pre-petition and a proceeding to determine the parties’ rights

under the policy is entirely independent of the bankruptcy proceeding. As Hartford argues, the

instate matter involves ordinary state-law claims on a first-party insurance contract and does not

otherwise implicate the debtor’s rights under the bankruptcy code.”); see also Travelers Indem.

Co. v. Babcock & Wilcox Co., No. 01-3387, 2002 WL 100625 (E.D. La. 2002) (“Here, Travelers

claims that this dispute is simply over the parties’ respective rights and obligations under pre-

bankruptcy contracts governed by state law. The Court finds that the contract action is not a core

proceeding.”) (citing In re U.S. Brass Corp., 110 F.3d 1261 (7th Cir. 1997) (“The fact that it is

an important right to the bankrupt [involving $500 million in coverage] is irrelevant.”)); In re

One World Adoption Serv., Inc., 571 B.R. 474, 477 (Bankr. N.D. Ga. 2017) (“This is a non-core

proceeding. This proceeding is an insurance coverage dispute where the only causes of action are

breach of a pre-petition contract and a request for declaratory judgment regarding the parties’

rights under the contract.”).




                                            Page 3 of
Case 6:18-cv-01147-ACC-DCI Document 55 Filed 09/18/18 Page 4 of 7 PageID 2115



       This is significant because in Shafir, the United States Supreme Court held that “[a]bsent

consent, bankruptcy courts in non-core proceedings may only submit proposed findings of fact

and conclusions of law, which the district courts review de novo.” Id. at 1940; see also In re

Lawrence Group, Inc., 285 B.R. at 788 (“Finding any such contract action to sufficiently relate

to the administration of the bankruptcy estate as to render the action “core” would swallow the

rule in N. Pipeline Constr… that a pre-petition contract action may not be finally adjudicated by

a non-Article III judge.”). Gemini does not consent to a non-Article III court deciding the

coverage issues, which involve state law not the Bankruptcy Code. Additionally, since a jury

trial was requested in the complaint, the Texas Bankruptcy Court would have to transfer this case

back to this Court for a jury trial. Rather than toss this action around, this non-core proceeding

ought to remain here.

B.     UOB ARGUES THAT A TRANSFER IS REQUIRED UNDER 28 U.S.C. § 1412,
       WHICH ONLY APPLIES TO CORE PROCEEDINGS; THE NON-CORE
       PROCEEDING MUST BE LITIGATED HERE.
       Of its twenty-one page motion, UOB spent seven pages arguing that a transfer is required

pursuant to the bankruptcy venue state of 28 U.S.C. § 1412. Section 1412 provides that a district

court “may transfer a case or proceeding under title 11 to a district court for another district, in

the interests of justice or for the convenience of the parties.” (Emphasis added) A transfer under

Section 1412 only applies to core bankruptcy proceedings. See Ni Fuel Co., Inc. v. Jackson, 257

B.R. 600, 623 (N.D. Okla. 2000) (finding that Section 1404 applies to “related to” proceedings

and Section 1412 applies to those cases arising in or under Title 11) (collecting cases).

       In contrast, under the general venue statute of 28 U.S.C. § 1404, an action may only be

transferred to “any other district or division where it might have been brought or to any district

or division to which all parties have consented.” See also Ni Fuel, 257 B.R. at 622. This



                                             Page 4 of
Case 6:18-cv-01147-ACC-DCI Document 55 Filed 09/18/18 Page 5 of 7 PageID 2116



coverage action is not a core proceeding as explained in argument A above. Consequently, the

Court may disregard UOB’s arguments that it may transfer this action under Section 1412.

       Applying the correct venue statute, this action cannot be transferred to Texas Bankruptcy

Court because Gemini objects to that court’s jurisdiction over this action. Moreover, the insurer

defendants are not parties to the bankruptcy action and it is not clear that the Texas Bankruptcy

Court would have jurisdiction over them, the Hines plaintiffs, or the nominal parties.3

Additionally, the coverage issues here should not be decided as an ancillary matter in

Bankruptcy Court. Rather, this Court is better suited to decide the coverage issues. See, e.g.,

Rutland Guttering, Inc. v. Amerisure Mut. Ins. Co., No. 6:14-cv-117, 2014 WL 12610155 (M.D.

Fla. Sept. 16, 2014) (Conway, J., holding that insurer did not owe a duty to defend); Hatmaker v.

Liberty Mut. Fire Ins. Co., 308 F. Supp. 2d 1308 (M.D. Fla. 2004) (Conway, J., insurer did not

owe a defense for intentional conduct); Admiral Ins. Co. v. Spira, No. 6:08cv1772, 2010 WL

11507122 (M.D. Fla. Mar. 30, 2010) (Conway, J., insurer did not owe a defense because Specific

Services Exclusion applies). Not only has this Court decided similar coverage issues (duty to

defend), but venue is proper in this Court as the underlying action is pending in the Circuit Court

of Osceola County and UOB originally filed the complaint in the Circuit Court for Osceola

County. (DE 1; DE 2.) As a matter of law, the motion to transfer venue must be denied.

C.     NO OTHER FACTORS WEIGH IN FAVOR OF TRANSFER; THE NON-CORE
       PROCEEDING MUST BE LITIGATED HERE.
       Even if the Court were to consider the factors from the inapplicable bankruptcy venue

statute under Section 1412, a transfer would be improper. Specifically, UOB argues that the risk

of inconsistent judgments weighs in favor of transfer. (DE 47, Pg. 14.) The insurers are not



3
  In their motion, UOB did not address this issue. Instead, UOB focused its argument on whether
transfer is convenient given that it and other plaintiffs are located in Houston. (DE 47, Pg. 15.)
                                            Page 5 of
Case 6:18-cv-01147-ACC-DCI Document 55 Filed 09/18/18 Page 6 of 7 PageID 2117



parties to the Texas Bankruptcy, which means the Texas Bankruptcy Court is not able to address

any of the coverage issues raised here. Accordingly, this argument is without merit.

       Next, the presumption in favor of bankruptcy court only applies under a 28 U.S.C. § 1412

analysis, which is not applicable to this non-core proceeding. See Ni Fuel, 257 B.R. at 622.

Consequently, the Court may disregard this argument. There is also no indication that a Texas

Bankruptcy Court has any interest in resolving this non-core coverage dispute under the

applicable substantive law. Additionally, it is telling that UOB filed this coverage action in

Florida state court, not Texas state court. The strategic decision to litigate in Florida even

though UOB is physically located in and primarily operates out of Houston, undercuts their

argument that litigating in Florida is now inconvenient. (DE 47, Pg. 17.) The Court should also

disregard this argument. Last, UOB argues that it would be more convenient for witnesses to

travel to Texas for deposition, but this is incorrect. (DE 47, Pg. 15.) Specifically, if UOB or

Ironshore intend to depose Gemini regarding exhaustion of its $2M policy limit, the location of

that deposition does not weigh in favor of transfer. Gemini is not incorporated in or have its

principal place of business in Texas. Similarly, Ironshore or Navigators are not incorporated in

Texas. As a matter of law, no other factors weigh in favor of transfer and the motion should

simply be denied.

                                            CONCLUSION

       For the reasons articulated in this response, the Court should deny the motion to transfer

and retain jurisdiction over this action.




                                              Page 6 of
Case 6:18-cv-01147-ACC-DCI Document 55 Filed 09/18/18 Page 7 of 7 PageID 2118



                                                   Respectfully submitted,

                                                   /s/MICHELE A. VARGAS
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                               CERTIFICATE OF SERVICE

       I CERTIFY that on September 18, 2018, this document was filed via the CM/ECF system.

I further certify that I am unaware of any non-CM/ECF participants.

                                                   /S/MICHELE A. VARGAS
                                                   MICHELE A. VARGAS




                                           Page 7 of
